          Case 1:18-cv-00340-ABJ Document 27 Filed 06/14/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CAMPAIGN LEGAL CENTER,
                                                      Civil Action No. 1:18-cv-00340 (ABJ)
         Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

         Defendant.


                                  JOINT STATUS REPORT

        Pursuant to the Court’s Minute Order of May 31, 2019, the parties submit the following

joint status report:

        1. This case concerns a Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, request

 submitted by plaintiff to the Office of Information Policy (“OIP”) of the United States

 Department of Justice (“DOJ”) seeking records related to what would become the Presidential

 Advisory Commission on Election Integrity. Defendant released several pages of responsive

 records, including an email chain from which it redacted the names of three individuals to

 protect personal privacy, as well as one incidental reference to personal travel plans, pursuant

 to FOIA Exemption 6, 5 U.S.C. § 552(b)(6).

        2. On March 15, 2019, the Court granted plaintiff’s motion for summary judgment with

 respect to the names of the three individuals having concluded that the individuals’ privacy

 interests are outweighed by the public’s interest in knowing about the formation of the

 Commission. See Campaign Legal Center v. Department of Justice, --- F. Supp. 3d --, 2019

 WL 1228002 (D.D.C. Mar. 15, 2019), at *1. The Court granted defendant’s motion for

 summary judgment with respect to the personal travel plans reference. See id. at *9.
          Case 1:18-cv-00340-ABJ Document 27 Filed 06/14/19 Page 2 of 3




       3. As explained in the parties’ May 28, 2019, status report, defendant filed a protective

notice of appeal on May 14, 2019, in order to provide the Solicitor General with sufficient time

to make a final determination regarding whether to authorize appeal. See Joint Status Report,

ECF No. 26. A decision not to pursue an appeal was made earlier this week. Consistent with the

Court’s March 15, 2019, Memorandum Opinion and Order, defendant produced a re-processed

version of the email chain on June 13, 2019. Defendant moved to voluntarily dismiss the appeal

earlier today.

       4. The parties are currently in settlement discussions regarding attorney’s fees and

litigation costs, but have not yet reached an agreement. Accordingly, the parties respectfully

request that they be permitted to file a further status report in four weeks, on or before July 19,

2019, to update the Court on their efforts to resolve this case without further litigation.

Dated: June 14, 2019
                                                      Respectfully submitted,
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                                                      Assistant Attorney General
                                                      Civil Division

                                                      ELIZABETH J. SHAPIRO
                                                      Deputy Branch Director

                                                      /s/ Kristina A. Wolfe
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                                                  2
Case 1:18-cv-00340-ABJ Document 27 Filed 06/14/19 Page 3 of 3




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                              3
